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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

SHLOMO LEIBOVITCH, et al.,                        )
                                                  )
               Plaintiffs,                        )
                                                  )           No. 08 C 01939
       v.                                         )
                                                  )           Chief Judge Ruben Castillo
THE SYRIAN ARAB REPUBLIC, et al.,                 )
                                                  )
               Defendants.                        )

                                       AMENDED ORDER

       The Leibovitch family (“Plaintiffs”), a foreign national family that includes a child

citizen of the United States, Shira Leibovitch, won a substantial award pursuant to the terrorism

exception of the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. § 1605A, for various

injuries sustained by Shira in a terrorist attack in Israel. Shlomo Leibovitch, et al. v. The Syrian

Arab Republic, et al., 2011 WL 444762 (N.D. Ill. Feb. 1, 2011) (“Leibovitch I”). The Leibovitch

family’s claims for the intentional infliction of emotional distress arising from Shira’s injuries,

however, were dismissed by Judge William T. Hart of the Northern District of Illinois on the

grounds that the FSIA did not confer subject matter jurisdiction over claims by foreign citizens.

Id., at *2. On appeal, the Seventh Circuit held that Section 1605A of the FSIA did confer subject

matter jurisdiction over claims of foreign citizens and remanded for reconsideration of the non-

American plaintiffs’ intentional infliction of emotional distress (“IIED”) claims. Shlomo

Leibovitch, et al. v. Islamic Republic of Iran, et al., 697 F.3d 561 (7th Cir. 2012) (“Leibovitch

II”). Presently before the Court is Plaintiffs’ motion for entry of judgment against Defendants

the Islamic Republic of Iran (“Iran”) and its Ministry of Information and Security (“MOIS”)

(“collectively “Defendants”).
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                                       RELEVANT FACTS

        The previous two opinions have thoroughly canvassed the underlying facts case in this

case. The Court takes judicial notice of the findings of fact made by Judge Hart. 1 Therefore, the

Court will provide background information for context and then proceed to a discussion of the

facts pertinent to the IIED claims, which were omitted from the previous opinions. The Court

takes these facts from the uncontroverted evidence, including declarations submitted from each

plaintiff and expert reports.

        A.      Background Information

        Plaintiffs filed their complaint on April 3, 2008. (R. 1, Compl.) Plaintiffs brought this

action against: Iran; MOIS and Ali Yunesi of MOIS; Iranian Does 1-10; Ayotollah Ali Hoseini

Khamenei, Supreme Leader of Iran; the Syrian Arab Republic; the Syrian Ministry of Defense,

and its Minister of Defense Mustafa Tlass; Syrian Military Intelligence, and its commander

Hassan Khalil; Assef Shawkat and Ali Douba of the Syrian Ministry of Defense; the Syrian Air

Force Intelligence Directorate and its commander Ibrahim Hueiji; Syrian Does 1-10 and the

Palestinian Islamic Jihad (“PIJ”). (Id.) Plaintiffs sought compensatory damages for wrongful

death, battery, assault, intentional infliction of emotional distress, negligent infliction of

emotional distress, civil conspiracy, aiding and abetting and vicarious liability. (Id.) Plaintiffs

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  The Seventh Circuit permits courts to take judicial notice of findings of fact taken from prior
proceedings in a case as long as the findings of fact are “not subject to reasonable dispute.” Gen.
Elec. Capital Corp. v. Lease Resolution Corp., 128 F.3d 1074, 1082 (7th Cir. 1997) (quoting
Fed. R. Evid. 201(b)). In addition, FSIA “permits courts in subsequent related cases to rely upon
the evidence presented in earlier litigation . . . without necessitating the formality of having that
evidence reproduced.” Goldberg-Botvin v. Islamic Republic of Iran, 938 F. Supp. 2d 1, 5 n.1
(D.D.C. 2013) (quoting Anderson v. Islamic Republic of Iran, 753 F. Supp. 2d 68, 74 (D.D.C.
2010)). Here, Defendants have failed to appear or otherwise plead. Therefore, the Court finds
that Judge Hart’s findings of fact are not subject to reasonable dispute, and takes judicial notice
of those findings.
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sought compensatory damages in the amount of $182 million and punitive damages in the

amount of $300 million. (R. 64, Pls.’ Final Proposed Findings of Fact & Conclusions of Law at

47-89.) Through diplomatic channels, Plaintiffs effectuated service on Iran and MOIS. (R. 26,

Summons.) On March 16, 2009, Plaintiffs voluntarily dismissed without prejudice all the Syrian

defendants. (R. 30, Pls.’ Notice of Voluntary Dismissal.) On April 23, 2009, Judge Hart

dismissed without prejudice defendants Ayatollah Ali Hoseini Khamenei, Ali Yunesi, Iranian

Does 1-10 and the PIJ for failure to serve pursuant to Federal Rule of Civil Procedure 4(m). (R.

32, Min. Entry.) On that date, Judge Hart also entered a default against Iran and MOIS for

failure to appear. (Id.) On March 15, 2010, Plaintiffs’ submitted their Final Proposed Findings

of Fact and Conclusions of Law. (R. 64, Pls.’ Final Proposed Findings of Fact & Conclusions of

Law

       On February 1, 2011, Judge Hart dismissed all named defendants other than Iran and the

MOIS without prejudice, (R. 72, Min. Entry), and issued his ruling in Leibovitch I, (R. 73,

Opinion, Findings of Fact & Conclusions of Law). As described above briefly, Judge Hart ruled

that Shira was injured in “an act of . . . extrajudicial killing” under the FSIA exception for

terrorism, 28 U.S.C. § 1605A(a)(1) and that Iran and MOIS were vicariously liable for the PIJ’s

attack on the Leibovitch family because it openly provided material support and resources to the

PIJ. Leibovitch I, 2011 WL 444762. Judge Hart awarded Shira $17.5 million in compensatory

damages and an additional $35 million in punitive damages. Id., at *11. He dismissed, however,

all of the non-American Plaintiffs’ claims for lack of subject matter jurisdiction. Id., at *2. After

filing an unsuccessful motion for reconsideration, (R. 75, Mot. for Recons.), Plaintiffs appealed

to the Seventh Circuit. On October 17, 2012, the Seventh Circuit issued its opinion in Leibovitch

II, holding that the District Court did have subject matter jurisdiction over Plaintiffs’ IIED claims



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because plaintiffs that are foreign national family members of victims of terrorist attacks may

bring suit under the FSIA. 697 F.3d at 572. The court held that Shira was a “victim” pursuant

to the FSIA, and therefore her foreign national family members may bring suit. Id. The court

remanded for further proceedings, however, for the District Court to determine whether Plaintiffs

had viable IIED claims. Id. at 573. The court noted that while Plaintiffs had jurisdiction to bring

their claims under 28 U.S.C. § 1605A(c), Congress did not provide a federal cause of action, and

thus the District Court was to determine the viability of Plaintiffs’ IIED claims under Israeli law,

as Israel was the site of the attack. Id. n.6.

        On October 25, 2012, this case was reassigned to this Court for all further proceedings.

Plaintiffs filed their motion for a default judgment on April 3, 2013. The Court proceeds to its

discussion of the facts pertinent to Plaintiffs’ IIED claims.

        B.      Shlomo Leibovitch

        Shlomo Leibovitch is an Israeli citizen who resides in Yemin Orde, Israel. (R. 47,

Shlomo Leibovitch Decl. ¶ 1.) On June 17, 2003, Shlomo, along with his wife, Galit; her mother

and father, Shmuel and Miriam Elia; his son, Moshe; and his three daughters Noam, Shira, and

Hila, traveled in the family’s minivan returning home from his nephew’s bar mitzvah celebration

in Jerusalem. (Id. ¶ 4.) As the Leibovitch family approached Kalkilya, Shlomo heard the sound

of gun blasts from the side of the road and felt the car being hit by bullets. (Id. ¶ 5.) Shlomo

drove away as fast as possible while his wife called the police for help. (Id. ¶ 6.) He saw Noam

lying completely motionless, and Shira was covered in blood and “screaming in agony.” (Id. ¶¶

6-8.) Shlomo and Galit began to perform cardiac and pulmonary resuscitation on Noam. (Id. ¶

9.) Nearly twenty minutes later, an army physician and medic arrived at the scene. (Id. ¶ 12.)




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The army physician took over Shlomo’s efforts to resuscitate Noam, but eventually he stopped,

telling Shlomo “there was nothing else anyone could do.” (Id.)

       Ambulances transported Shira to Bellinson Hospital in Petah Tikva, where physicians

told Shlomo that one bullet was lodged near Shira’s spinal column and another had damaged her

right hand. (Id. ¶¶ 15-16.) The night of the attack, Shlomo could not sleep because he felt

“helpless, anguished and restless.” (Id. ¶ 20.) Following the funeral for 7-year old Noam

Leibovitch, who was killed in the attack, the Leibovitch family endured an “emotionally tolling

experience” assisting Shira with her recovery. (Id. ¶ 23.) Shlomo was employed as a deputy

general manager at a local youth village, but eventually had to quit his job as a result of the

mounting stress his family experienced. (Id. ¶ 27.) He became a teacher because it required less

responsibility and time, but he now earns a much lower salary than he did in his previous

position. (Id.) Mundane activities, such as going to the mall, create great anxiety for Shlomo.

(Id. ¶ 28.) He relives the attack “dozens of times each day.” (Id. ¶ 29.) Shlomo experiences the

pain of Shira’s injury and Noam’s death daily, describing it as an “open wound that bleeds and

continues to hurt without rest.” (Id. ¶ 33.)

       Plaintiffs presented the expert report of Dr. Rael Strous, a licensed psychiatrist who

performed a clinical interview and psychiatric evaluation on Shlomo, as well as the other

plaintiffs in this case. (R. 45-2, Ex. B, Strous Report of Shlomo Leibovitch.) Dr. Strous

diagnosed Shlomo with moderate Post Traumatic Stress Disorder (PTSD). (Id. at 5.) Dr. Strous

found that the diagnosis of chronic PTSD was evidenced by the presence of flashbacks,

avoidance, and heightened emotional reactivity. (Id.) He observed that while some of the

symptoms of emotional pain have improved since the attack, many have not, and that Shlomo’s

life “has become irreversibly changed.” (Id.) He also observed that in addition to personal and



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family changes, Shlomo’s occupational ambition has been affected. (Id.) Dr. Strous concluded

that “based on these persistent features of chronic PTSD . . . [Shlomo] will continue in the future

to suffer chronic symptomatology in the aftermath of the shooting despite considerable time

having elapsed since the event.” (Id.)

       C.      Galit Leibovitch

       Galit Leibovitch is an Israeli citizen who resides in Yemin Orde, Israel. (R. 48, Galit

Leibovitch Decl. ¶ 1.) After the attack, Galit spent her time at Shira’s bedside. (Id. ¶¶ 13-18,

40.) She left to attend Noam’s funeral and returned to Shira’s bedside immediately thereafter.

(Id. ¶ 19.) Galit spent the year following the attack focused on Shira’s recovery. (Id. ¶ 21.) She

transported Shira 55 miles each way three times a week to and from the Tel Hashomer Medical

Center for physical therapy sessions that were “very difficult to watch.” (Id.) Aside from her

focus on Shira’s physical therapy, Galit “hardly functioned at all” and was unable to perform

basic housekeeping requirements such as cooking, shopping, and cleaning. (Id. ¶ 31.) She

required outside assistance with household cleaning. (Id.)

       After two years, Galit attempted to return to her career as a teacher, which she had given

up prior to the attack, but was unable to teach a full class. (Id. ¶ 33.) Instead, she assumed the

less arduous role of a tutor. (Id.) Currently, Galit is able to work nearly full-time as a teacher

but she cannot teach classes in which students have disciplinary issues or work overtime due to

the overwhelming stress it causes. (Id. ¶ 35.) She turned down a promotion at work because she

has no ambition or desire to excel professionally. (Id. ¶ 36.) Galit observes that she is

“constantly exhausted, afraid, angry, and stressed” and has “almost no joy in [her] life in

general.” (Id. ¶¶ 35-36.) She no longer feels safe outside of her home and has difficulty

adapting to changes in her routine. (Id. ¶¶ 37.) During holidays and special events, Galit suffers



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from severe stomachaches, vomiting, and diarrhea. (Id. ¶ 39.) The attack and Shira’s resulting

disability have also placed a strain on Galit and Shlomo’s marriage and on her other family

relationships, forcing her to seek treatment in a psychiatric hospital. (Id. ¶ 38, 41.) She was

prescribed anti-depressants and continues to see a therapist each week. (Id. ¶ 41.)

       Dr. Strous found that Galit suffers from moderate-to-severe PTSD. (R. 45-3, Ex. C,

Strous Report of Galit Leibovitch at 4.) He observed that she exhibited avoidance and

heightened emotional reactivity. (Id. at 5.) He also noted that reports from her treating

psychologists indicated a decline in cognitive function, and that she previously suffered from

depression and anxiety. (Id. at 2, 4.) Dr. Strous concluded that Galit will continue to suffer

chronic symptomatology. (Id. at 5.)

       D.      Moshe Leibovitch

       Moshe Leibovtich is an Israeli citizen who resides in Yemin Orde, Israel. (R. 49, Moshe

Leibovitch Decl. ¶ 1.) He was eleven years old at the time of the attack. (Id. ¶ 3.) Moshe was

seated next to his sisters Shira and Noam in the minivan during the attack, and he attempted to

shield them from the gunfire. (Id.) He sustained injuries from glass shattered by bullets. (Id. ¶

4.) After the attack, Moshe experienced intense anxiety, nightmares, fear of the dark, and fear of

being alone. (Id. ¶ 7.) He developed psoriasis as a result of stress and anxiety. (Id.) He

describes the months and years following the attack as a “dark time . . . filled with depression

and suffering.” (Id. ¶ 9.) Moshe withdrew from friends and had difficulty concentrating in

school. (Id.) He began therapy shortly after the attack, and has used art and equine therapy to

increase his self-confidence. (Id. ¶ 10.) Dr. Strous diagnosed him with mild PTSD and chronic




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dysthymia. 2 (R. 45-7, Ex. G, Strous Report of Moshe Leibovitch at 3-4.) Dr. Strous based his

diagnosis in part on Moshe’s insomnia, nightmares, anxiety, and chronic low mood. (Id. at 4.)

Dr. Strous expects Moshe, like his parents, will continue to suffer chronic symptomatology. (Id.)

       E.      Hila Leibovitch

       Hila Leibovtich is an Israeli citizen who resides in Yemin Orde, Israel. (R. 50, Hila

Leibovitch Decl. ¶ 1.) She was sixteen years old at the time of the attack. (Id. ¶ 3.) Hila sat a

row in front of Shira and Noam in the minivan during the attack, and assisted her parents in

tending to Shira’s injuries. (Id. ¶¶ 3, 6.) Hila experienced difficulty sleeping, fatigue,

depression, and emotional sensitivity in the year following the attack, and she has sought therapy

to deal with her symptoms. (Id. ¶¶ 18, 21, 23.) She “live[s] with the pain of the terrorist

shooting everyday.” (Id. ¶ 28.) Dr. Strous diagnosed Hila with mild PTSD and chronic

dysthymia and opined that she will continue to suffer some chronic symptomatology from the

attack. (R. 45-8, Ex. H, Strous Report of Hila Leibovitch at 3.)

       F.      Shmuel Eliad

       Shmuel Eliad is an Israeli citizen and a resident of Netanya, Israel. (R. 51, Shmuel Eliad

Decl. ¶ 1.) He was seated in a rear passenger seat in the minivan when the attack occurred. (Id.

¶ 4.) Shmuel attempted to assist in administering first aid to Shira and Noam, but he was too

overcome with distress and shock. (Id. ¶¶ 5-6.) He relives the attack daily in vivid detail

accompanied by feelings of anguish and guilt. (Id. ¶¶ 10-12.) Shmuel experiences frequent

bouts of severe depression and anxiety, and he rarely leaves his home. (Id. ¶ 15.) He attends

therapy regularly and takes psychiatric medication, which has not led to significant relief. (Id.)



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  Dysthymia is a mild, but long-term form of depression. Dysthymia, Mayo Clinic, available at
http://www.mayoclinic.org/diseases-conditions/dysthymia/basics/definition/con-20033879 (last
visited Mar. 26, 2014).
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Dr. Strous diagnosed Shmuel with chronic depression and moderate-to-severe PTSD, as

evidenced by sleep impairment, flashbacks, avoidance behavior, anxiety and chronic low mood.

(R. 45-4, Ex. D, Strous Report of Shmuel Eliad at 3.) His prognosis was that Shmuel will

continue to suffer some chronic symptomatology from the attack. (Id. at 3-4.)

       G.      Miriam Eliad

       Miriam Eliad is a resident of Israel. (R. 52, Miriam Eliad Decl. ¶ 1.) Miriam was sitting

in a rear passenger seat during the attack. (Id. ¶ 2.) When the gunfire subsided, Miriam saw

Shira and Noam covered in blood and became hysterical. (Id. ¶ 7.) When ambulances arrived to

transport Shira and Noam to the hospital, Miriam had to be transported separately and given an

oxygen breathing tube. (Id. ¶ 8.) Since the attack, she experiences flashbacks, insomnia, and

paranoia, and has suffered hearing loss in her left ear. (Id. ¶¶ 12-13.) Miriam sought therapy for

chronic sleep problems and ongoing depression at a psychiatric clinic, where she was also

prescribed antidepressants. (Id. ¶ 18.) Dr. Strous diagnosed Miriam with moderate-to-severe

PTSD, evidenced by sleep impairment, nightmares, flashbacks, avoidance behavior, anxiety, and

chronic depression. (R. 45-5, Ex. E, Strous Report of Miriam Eliad at 3.) Dr. Strous observed

that “[Miriam] remains particularly preoccupied with the injuries to her granddaughter . . . which

have become the ongoing focus of her concerns.” (Id. at 3.) He opined that Miriam, like the rest

of her family, will continue to suffer some chronic symptomatology from the attack. (Id. at 4.)

       H.      Nerya Leibovitch

       Nerya was born to Shlomo and Galit Leibovitch eleven months after the attack. (R. 64,

Pls.’ Final Proposed Findings of Fact & Conclusions of Law at 69.) From her birth, Nerya’s

family was preoccupied and overwhelmed with Shira’s treatment, and their own psychological




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and emotional needs. (Id.) As a result of the attack, she has been deprived of a normal

childhood and family life. (Id.)

                                      LEGAL STANDARD

       A court shall not enter a default judgment against a foreign state “unless the claimant

establishes his claim or right to relief by evidence satisfactory to the court.” 28 U.S.C. §

1608(e). This “satisfactory to the court” standard is identical to the standard for entry of default

judgments against the United States in Federal Rule of Civil Procedure 55(d). Moore v. United

Kingdom, 384 F.3d 1079, 1090 (9th Cir. 2004); Hill v. Republic of Iran, 328 F.3d 680, 683 (D.C.

Cir. 2003). Plaintiffs may present such evidence in the form of affidavits or declarations rather

than through live witnesses testifying in open court. Anderson, 753 F. Supp. 2d at 74; Estate of

Botvin ex rel. Ellis v. Islamic Republic of Iran, 604 F. Supp. 2d 22, 26 (D.D.C. 2009) (“Botvin

I”); Wachsman ex rel. Wachsman v. Islamic Republic of Iran, 603 F. Supp. 2d 148, 155, 162

(D.D.C. 2009). Upon evaluation, the Court may accept any uncontroverted evidence presented

by plaintiffs as true. Estate of Heiser v. Islamic Republic of Iran, 466 F. Supp. 2d 229, 255

(D.D.C. 2006) (“Heiser I”) (citing Campuzano v. Islamic Republic of Iran, 281 F. Supp. 2d 258,

268 (D.D.C. 2003)). Finally, a FSIA court “may take judicial notice of related proceedings and

records in cases before the same court.” Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52,

59 (D.D.C. 2010) (quoting Brewer v. Islamic Republic of Iran, 664 F. Supp. 2d 43, 50-51

(D.D.C. 2009)). This Court accepts as true the uncontested evidence and testimony submitted by

Plaintiffs. Not only have the Defendants not objected to such evidence or even appeared in court

to contest it, but the Court finds the evidence submitted by Plaintiffs to be relevant to and highly

probative of their claims.

                                            ANALYSIS



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I.       Jurisdiction

         The FSIA provides immunity from suit to foreign states and denies United States courts

jurisdiction over suits against foreign states. 28 U.S.C. § 1604. The state-sponsored terrorism

exception to the FSIA eliminates immunity and grants federal courts original jurisdiction over

suits against a foreign state if (1) money damages are sought (2) against a foreign state (3) for

personal injury or death (4) that was caused (5) “by an act of torture, extrajudicial killing, aircraft

sabotage, hostage taking, or the provision of material support or resources for such an act . . . .”

28 U.S.C. § 1605A(a)(1). Leibovitch I and Leibovitch II previously established that jurisdiction

exists over Plaintiffs’ claims and that Iran’s immunity has been waived. Leibovitch I, 2011 WL

444762 at, * 9; Leibovitch II, 697 F.3d at 562. This Court adopts the jurisdictional analyses from

those cases.

II.      Governing Law

         As the Seventh Circuit made clear in Leibovitch II, “neither 28 U.S.C. § 1605(a)(7) nor

the Flatow Amendment, nor the two considered in tandem, creates a private right of action

against a foreign government.” Leibovitch II, 697 F.3d at 566 (quoting Cicippio–Puleo v.

Islamic Republic of Iran, 353 F.3d 1024, 1033 (D.C. Cir. 2004)). Because Congress did not

provide Plaintiffs a private right of action in the FSIA, Plaintiffs must establish a separate legal

basis for their cause of action. Id. at 564 (citing First Natl. City Bank v. Banco Para El

Comercio Exterior de Cuba, 462 U.S. 611, 621-23 (1983)).

         The previous decisions in Leibovitch I and Leibovitch II held that Israeli law applies in

this case. The law of the case doctrine mandates that this Court leave that ruling undisturbed,

absent a compelling reason. Minch v. City of Chi., 486 F.3d 294, 301 (7th Cir. 2007). Plaintiffs




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have provided no reason why Israeli law should not apply to their claims. Therefore, this Court

will use Israeli law to evaluate Plaintiffs’ claims.

       Federal Rule of Civil Procedure 44.1 provides that when determining the law of a foreign

jurisdiction, a court may “consider any relevant material or source, including testimony, whether

or not submitted by a party or admissible under the Federal Rules of Evidence.” Fed. R. Civ. P.

44.1; see also Pittway Corp v. United States, 88 F.3d 501, 504 (7th Cir. 1996) (noting that the

Advisory Committee Notes to Rule 44.1 “spell out the court’s prerogative to engage in its own

research and consider any relevant material thus found”). Oral or written expert testimony

accompanied by foreign legal materials is commonly provided to help courts apply foreign law.

United States. v. Pre-Columbian Artifacts, 845 F. Supp. 544, 546 (N.D. Ill. 1993). The Seventh

Circuit urges trial courts to research and analyze foreign law independently of expert testimony.

Twohy v. First Natl. Bank of Chicago, 758 F.2d 1185, 1193 (7th Cir. 1985). Accordingly, this

Court has performed independent research, unaided by the conclusory and deficient briefing on

this issue provided by Plaintiffs and its expert, in order to evaluate whether Plaintiffs’ IIED

claims would prevail under Israeli law.

       If the parties do not offer an “adequate statement of the law,” however, the Court is not

required to remedy the deficiency. Minebea Co., Ltd. v. Papst, 444 F. Supp. 2d 68, 185 (D.D.C.

2006), see also Twohy, 758 F.2d at 1193 (noting that “[n]othing in Rule 44.1 strictly requires a

district judge to engage in private research.”). Where parties have not provided an adequate

statement of the law, “the forum will usually decide the case in accordance with its own local

law except when to do so would not meet the needs of the case or would not be in the interests of

justice.” Estate of Botvin ex rel. Ellis v. Islamic Republic of Iran, 772 F. Supp. 2d 218, 228

(D.D.C. 2011)(“Botvin II”) (quoting Restatement (Second) of Conflict of Laws § 136 cmt. h



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(1971)); see also Minebea, 444 F. Supp. 2d at 185 (“[W]hen both parties have failed to prove

foreign law, the forum may say that the parties have acquiesced in the application of the local

law of the forum.” (quoting Oparaugo v. Watts, 884 A.2d 63, 71 (D.C. 2005))).

V.       Plaintiffs’ IIED Claims 3

         A.     Living Plaintiffs

         Plaintiffs argue that their IIED claims are recognized under Israeli law, (R. 101, Pls.’

Mot. for J. at 8), and support this contention with an affidavit by Israeli legal expert Avraham

Colthof, (R. 58, Colthof Aff.). Colthof failed, however, to provide any relevant case law to

support this contention. Pursuant to Seventh Circuit precedent, the Court conducted its own

independent analysis of Israeli case law.

         Under Israeli law, “a defendant owes a duty of care in tort toward someone who is

injured mentally, not to inflict such an injury on him, where the mental injury was the probable,

foreseeable consequence of the defendant’s conduct.” LCA 444/87 Munhar Alsoucha v. Dehan,

at 56 [1990] (Isr.). The relevant inquiry is “whether a reasonable person should have foreseen

the occurrence of the injury.” Id. at 58. The Dehan court was concerned, however, that

exclusive reliance on the foreseeability test would lead to a “multiplication of claims, including,

in all probability, claims on account of trivial damage, and baseless and false claims.” Id. at 62.

Therefore, based upon considerations from American and other foreign tort law, the court

identified four factors to consider in evaluating whether claims for mental injury are meritorious:

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   After conceding before Judge Hart that the court has no jurisdiction over Plaintiffs’ claims for
battery, assault, negligent infliction of emotional distress, civil conspiracy, aiding and abetting,
and vicarious liability, (R. 75, Pls.’ Mot. for Recons. at 3-4), Plaintiffs attempt to re-assert these
claims in their briefs before this Court, (R. 101, Pls.’ Mot. for J. at 7). The Seventh Circuit held
that this Court retains subject matter jurisdiction only over Plaintiffs’ IIED claims and remanded
only that claim to this Court. Leibovitch II, 697 F.3d at 563. Thus, the Court disregards
Plaintiffs’ re-assertion of all their claims and limits its analysis to their IIED claims, as directed
by the Seventh Circuit.
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(1) whether plaintiffs enjoy a close relationship to the primary victim; (2) whether plaintiffs

directly perceived the tortious act; (3) plaintiff’s degree of spatial and temporal proximity to the

injurious event; and (4) the severity mental injury. Id. at 62-73.

        Here, the Court finds that Plaintiffs’ mental injuries are the probable, foreseeable

consequence of the PIJ’s attack on the Leibovitch family, as a reasonable person would expect

that enduring such a heinous attack would result in mental injury. Next, the Court must

determine whether Plaintiffs’ claims meet the Dehan court’s four-factor test. As to the first

element, the closeness of the relationships, the Dehan court held that first-degree relatives,

defined as parents, spouses, and children, automatically meet this criterion. Id. at 63. The court

left open the question of whether other relationships would meet this requirement. Shlomo and

Galit Leibovitch, Shira’s parents, meet this test. Plaintiffs’ expert attests that Israeli law

recognizes Shira’s siblings and grandparents IIED claims. 4 (R. 58, Aff. Avraham Colthof ¶ 26.)

Dehan was decided by the Israeli Supreme Court over twenty years ago. The Court was not able

to locate any Israeli case law in the intervening years where the court held that IIED claims are

limited to first-degree relatives. Accordingly, the Court relies on Plaintiffs’ expert on this point.

Thus, the Court finds that all Plaintiffs meet the “close relationship” requirement.

4
   In Plaintiffs’ legal expert’s affidavit, he attests that Nerya Leibovitch, Shira’s sibling who was
born after the attack, would also prevail on an IIED claim if she could demonstrate psychological
trauma as a result of the shooting and resulting injuries Shira sustained. (R. 58, Colthof Aff. ¶
26.) Plaintiffs have provided neither an affidavit from Nerya herself nor a psychiatric evaluation
from Dr. Strous detailing Nerya’s condition. In the absence of any supporting documentation,
the Court cannot hold that an unborn child sustained emotional distress from an accident she did
not experience. Aside from calculating damages for Nerya, Plaintiffs do not actually argue that
Nerya suffered from an IIED. “[I]t is not this court’s responsibility to research and construct the
parties’ arguments, and conclusory analysis will be construed as waiver.” Gross v. Town of
Cicero, Ill., 619 F.3d 697, 704 (7th Cir. 2010) (quoting APS Sports Collectibles, Inc. v. Sports
Time, Inc., 299 F.3d 624, 631 (7th Cir. 2002); see also Palmer v. Marion Cnty., 327 F.3d 588,
597-98 (7th Cir. 2003) (deeming the plaintiff’s negligence claim abandoned because he failed to
delineate it in his brief in opposition to summary judgment). Accordingly, the Court finds that
Plaintiffs have waived Nerya’s IIED claim.
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       As to the second element, whether the plaintiff directly perceived the tort, the Dehan

court held that witnessing a tortious act is not determinative, but the foreseeability of mental

injury increases when one witnesses the act. Here, Plaintiffs were present in the vehicle and

experienced the horrific attack along with Shira. Consequently, the Court finds that Plaintiffs

directly perceived the act and thus satisfy the second element.

       The third element, spatial and temporal proximity to the injurious event, is implicated

when the mental injury is “the product of a continuous process of exposure to the consequences

of the injurious event” as opposed to mental injury resulting from a one-time experience. LCA

444/87 Munhar Alsoucha, at 46. The Dehan court ultimately concluded that “the distinction

between mental injury caused on the spot . . . and damage caused at a later stage” is arbitrary,

and the distinction should be based upon the extent of the damage, or “clear proof of real and

definite mental injury.” Id. at 69. In this case, the Plaintiffs have all sought therapy and been

diagnosed with PTSD and depression. In addition, Galit and Miriam have been prescribed

antidepressants, and Galit has been hospitalized and experienced a decline in cognitive function.

The Court finds that the deterioration of Plaintiffs’ mental health constitutes “clear proof” of

injury such that Plaintiffs meet the proximity factor.

       The fourth element, the severity of mental injury, is materially similar to the third

element and requires substantial recognized mental illness, mental injury with physiological

manifestations, or severe mental injury. The Dehan court cautions against compensating for

slight mental harms that are “temporary and ephemeral” and therefore “an everyday matter in the

reality of our lives.” Id. at 69. Here, each Plaintiff exhibits mental injury with physiological

manifestations. In addition, Dr. Strous opined that the Leibovitch family has endured mental




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traumas for several years and will continue to experience their traumas for the foreseeable future.

Therefore, the Court finds that Plaintiffs meet the severe mental injury factor.

       The Court finds support for its conclusions in the test formulated by federal courts that

have previously analyzed IIED claims under Israeli law:

       [E]motional harm is generally not compensable under Israeli law unless the
       plaintiff has established a reasonable causal proximity in both time and place,
       between the event and the emotional harm, and plaintiff either personally
       experiences the tragic event, or in an exceptional case, learns about the event in
       such circumstances that the emotional damage is expectable.

Estate of Botvin v. Islamic Republic of Iran, 873 F. Supp. 2d 232, 245 (D.D.C. 2012) (“Botvin

III”) (quoting Goldberg v. UBS AG, 660 F. Supp. 2d 410, 423 (E.D.N.Y. 2009)). Plaintiffs’

presence in the minivan during the attack establishes causal proximity in both time and place

between the event and the emotional harm. Plaintiffs experienced the tragic event that gave rise

to their IIED claims firsthand. Therefore, the Court finds that Plaintiffs’ IIED claims are

recognized under Israeli law.

       As a final matter, the Court addresses whether Defendants Iran and MOIS are vicariously

liable for the actions of the PIJ. The Court pauses to note that PIJ members Samach Shubaki and

Tarek Hassain confessed to committing the attack to Israeli law enforcement authorities. 2011

WL 444762, at *5. However, Plaintiffs subsequently dismissed the PIJ from this action due to

failure to serve pursuant to Federal Rule of Civil Procedure 4(m), and thus the PIJ’s liability is

not at issue in this case. In Leibovitch I, the Court determined Iran and MOIS were vicariously

liable for Shira’s injuries, but the Court must determine Iran and MOIS’ liability for the non-

American Plaintiffs’ IIED claims. Having analyzed the merits of the IIED claims under Israeli

law, the Court proceeds to analyze vicarious liability under Israeli law as well to ensure that Iran

and MOIS are liable “in the same manner and to the same extent” as it would be if Plaintiffs



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brought their claims in Israel. 28 U.S.C. § 1606. Section 14 of the Civil Wrongs Ordinance

(“CWO”) codifies the requirements for vicarious liability. (R. 58, Colthof Aff. ¶ 16.) It provides

that “[a]ny person who employs an agent . . . to do any act or class of acts on his behalf shall be

liable for anything done by such agent in the performance of, and for the manner in which such

agent does such act or class of acts.” CWO (New Version), 5728–1968, 2 LSI 5, § 14 (1972)

(Isr.). The Court has already taken judicial notice of the Leibovitch I court’s findings of fact,

including that Iran and MOIS provided material support and resources to the PIJ for the specific

purpose of carrying out terrorist acts. 2011 WL 444762, at *9. In addition, Iran was designated

as a state sponsor of terrorism by the United States at the time Iran provided the PIJ with material

support and resources and at the time of the attack. Id. Therefore, the Court finds that the PIJ

was an agent of Iran and MOIS, and consequently, Iran and MOIS are vicariously liable for any

torts the PIJ committed.

       B.      Estate of Noam Leibovitch

       Plaintiffs assert that the estate of Noam Leibovitch, with her parents serving as named

representatives, is entitled to compensatory damages. (R. 101, Pls.’ Mot. for J. at 12.) The Court

assumes that Plaintiffs are therefore asserting an IIED claim on behalf of Noam’s estate.

Plaintiffs offer no legal basis for the estate’s claim under either Israeli or American law. After

conducting its own independent research, the Court is unable to say whether Israeli law

recognizes such a claim. Having been denied an adequate statement of Israeli law, the Court

finds that Plaintiffs have “acquiesced in the application of the local law of the forum.” Minebea,

444 F. Supp. 2d at 185. Rather than denying the estate’s claim, the Court finds applying the

forum law an especially appropriate alternative because “the United States has a unique interest

in having its domestic law apply in cases involving terrorist attacks on United States citizens.”



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Greenbaum v. Islamic Republic of Iran, 451 F. Supp. 2d 90, 102 (D.D.C. 2006) (applying U.S.

law rather than foreign law to tort claims in a FSIA suit due to the United States’ “unique

interest” in having its law apply); see Wachsman ex rel. Wachsman v. Islamic Republic of Iran,

537 F. Supp. 2d 85, 96-97 (D.D.C. 2008) (the court applied Israeli law to wrongful death claim,

and District of Columbia law to plaintiff’s IIED claim where Israeli law would not allow him to

bring a claim recognizing the “paramount interest in guaranteeing redress to U.S. citizens”).

Accordingly, the Court will evaluate the estate’s claim under Illinois law.

       To establish a claim of IIED under Illinois law, a plaintiff must prove that: “(1) the

defendants’ conduct was extreme and outrageous; (2) the defendants knew that there was a high

probability that their conduct would cause severe emotional distress; and (3) the conduct in fact

caused severe emotional distress.” Swearnigen-El v. Cook Cnty Sheriff’s Dep’t, 602 F.3d 852,

864 (7th Cir. 2010) (citing Kolegas v. Heftel Broad. Corp., 607 N.E.2d 201, 211 (Ill. 1992)).

“To meet the ‘extreme and outrageous’ standard, the defendants' conduct ‘must be so extreme as

to go beyond all possible bounds of decency, and to be regarded as intolerable in a civilized

community.’ ” Id. (quoting Kolegas, 607 N.E.2d at 211); see also Fox v. Hayes, 600 F.3d 819,

842 (7th Cir. 2010).

         Here, although there is a dearth of Illinois case law regarding IIED claims in FSIA suits,

the Court finds that Defendant’s conduct was extreme and outrageous. Defendants’ conduct,

which includes supporting a terrorist organization in its efforts to kill innocent civilians, goes

beyond all bounds of decency and easily meets the “extreme and outrageous” standard. A

district court with particular competence in adjudicating FSIA claims, the United States District

Court for the District of Columbia, held that “[a]cts of terrorism are by their very definition

extreme and outrageous and intended to cause the highest degree of emotional distress.” Belkin



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v. Islamic Republic of Iran, 667 F. Supp. 2d 8, 22 (D.D.C. 2009) (citing Stethem v. Islamic

Republic of Iran, 201 F. Supp. 2d 78, 89 (D.D.C. 2002)). In addition, in Salazar v. Islamic

Republic of Iran, the court, applying Illinois law to an IIED claim, found that a terrorist attack

constituted extreme and outrageous conduct. 370 F. Supp. 2d 105, 115 (D.D.C. 2005).

Therefore, the Court is confident that Defendants’ conduct here meets the “extreme and

outrageous” standard.

       As to the second element of an IIED claim under Illinois law, conduct intended to cause

severe emotional distress, the Illinois Supreme Court has held that “[l]iability extends to

situations in which there is a high degree of probability that severe emotional distress will follow

and the actor goes ahead in conscious disregard of it.” Pub. Fin. Corp. v. Davis, 360 N.E.2d

765, 767 (Ill. 1976). The Seventh Circuit held that “[Illinois courts] have generally found this

element to be satisfied . . . when a defendant’s actions, by their very nature, were likely to cause

severe distress.” Honaker v. Smith, 256 F.3d 477, 494 (7th Cir. 2001). The Court finds that the

very nature of Defendants’ actions were intended to cause severe emotional distress to the

victims of the PIJ’s attacks. See Belkin, 667 F. Supp. 2d at 22.

       Under the last IIED element, severe emotional distress, “in many cases the extreme and

outrageous character of the defendant’s conduct is in itself important evidence that the distress

has existed.” Honaker, 256 F.3d at 496 (citations omitted). “These cases have acknowledged

that, even when significant evidence was not presented as to the severity of distress, the very

nature of the conduct involved may be evidence of its impact on the victim.” Id. As a result,

Illinois courts “tend to merge the issue of the outrageousness of the defendant’s conduct with the

issue of the severity of the plaintiff’s emotional distress, in effect requiring more evidence of

outrageousness the weaker the evidence of distress.” Id. (quoting Bristow v. Drake St., Inc., 41



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F.3d 345, 350 (7th Cir. 1994)). Here, although Noam cannot provide testimony as to her

emotional distress, the Court finds that the extreme and outrageous nature of Defendants’

conduct tips the scale in favor of permitting the estate to prevail. The Court acknowledges that

this is not a clear cut issue, but finds that severe emotional distress is present in this case by

virtue of the Defendants’ highly outrageous conduct.

        Accordingly, the Court finds that Noam’s estate succeeded in proving her IIED claim.

VI.     Compensatory Damages 5

      Having established that Plaintiffs’ IIED claims are recognized under Israeli law, the

Court now proceeds to determine the appropriate amount of damages to be awarded to

each Plaintiff. To obtain damages against defendants under the FSIA, the plaintiffs must

prove that the consequences of the Defendants’ conduct were “reasonably certain (i.e.,

more likely than not) to occur, and must prove the amount of damages by a reasonable

estimate consistent with this [court’s] application of the American rule on damages.”

Salazar v. Islamic Republic of Iran, 370 F. Supp. 2d 105, 115-16 (D.D.C. 2005) (quoting

Hill, 328 F.3d at 681 (internal quotations omitted)). Here, it was reasonably certain that

Noam’s death and Shira’s serious injury would occur given Defendants heinous actions.

Although the damages calculations Plaintiffs proffer are somewhat inflated, the Court

finds them to be a reasonable estimate based upon previous FSIA cases.




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   Though Plaintiffs’ complaint and pleadings seek punitive damages, a claim directly under 28
U.S.C.§ 1605A(a)(2) does not permit punitive damages as against Iran or MOIS. 28 U.S.C.
§ 1606; In re Islamic Republic of Iran Terrorism Litig., 659 F. Supp. 2d 31, 48 n.10 (D.D.C.
2009); Levin v. Islamic Republic of Iran, 529 F. Supp. 2d 1, 20 (D.D.C. 2007). In Leibovitch II,
the Seventh Circuit specifically held that Plaintiffs “cannot make use of the private right of
action” in § 1605A(c), which does provide for punitive damages in light of the Flatow
Amendment. 697 F.3d at 569.
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       In addition, “[t]o recover damages, a FSIA default winner must prove damages in

the same manner and to the same extent as any other default winner.” Wachsman, 603 F.

Supp. 2d at 160 (quoting Hill, 328 F.3d at 684-85) (internal quotation marks omitted); see

28 U.S.C. § 1606 (stating that a “foreign state shall be liable in the same manner and to

the same extent as a private individual under like circumstances”). Thus, the Court must

award damages according to Israeli law. The Court, however, has been placed at a severe

disadvantage in this task by Plaintiffs’ deficient briefing on this topic. Plaintiffs and their

legal expert have failed to provide the Court with relevant material pertaining to damages

awards for mental injury under Israeli law. Another district court evaluating a damages

award for an IIED claim under Israeli law noted that “such awards in Israel are typically

lower than those in the United States.” Goldberg, 660 F. Supp. 2d at 423. With such

little relevant information to chart its course upon, the Court finds it necessary to employ

the law of the forum in assessing the proper damages award. Conducting further research

would unduly burden both Plaintiffs and the Court. Thus, the Court concludes that “in

the interests of justice” the Court must apply the law of the forum to the damages

assessment. Botvin, 772 F. Supp. 2d at 228; see also Pancotto v. Sociedade de Safaris de

Mocambique, S.A.R.L., 422 F. Supp. 405 (N.D. Ill. 1976) (the district court applied

Mozambique law to the substantive claim and Illinois law to the damages assessment

where Mozambique law failed to offer adequate remedy and thus offended Illinois public

policy). Unfortunately, the Court’s research did not yield any relevant Illinois case law

analyzing damages awards under the FSIA. Therefore, keeping in line with several other

FSIA courts, the Court will, in the interests of justice, apply federal law to its damages

assessment. See Oveissi v. Islamic Republic of Iran (“Oveissi II”), 768 F. Supp. 2d 16



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(D.D.C. 2011) (applying French law to tort actions and federal law to damages award);

Kirschenbaum v. Islamic Republic of Iran, 572 F. Supp. 2d 200 (D.D.C. 2008) (applying

New York law to tort claims and federal law to damages award); Blais v. Islamic

Republic of Iran, 459 F. Supp. 2d 40 (D.D.C. 2006) (applying Florida and Virginia state

law to tort claims and federal law to damages award). The Court will thus rely on general

federal law principles concerning damage awards in FSIA litigation, with reference to

Israeli law where such information is available and may aid the Court in reaching an

appropriate determination of damages

       A.      General Principles For Assessing Damages in FSIA Litigation

       “Under the FSIA, a solatium claim is indistinguishable from an IIED claim.” Valore, 700

F. Supp. 2d at 85 (citing Estate of Heiser v. Islamic Republic of Iran, 659 F. Supp. 2d 20, 27 n.4

(D.D.C. 2009) (“Heiser II”)). Solatium is awarded to compensate for the “the mental anguish,

bereavement and grief that those with a close personal relationship to a decedent experience as

the result of the decedent’s death, as well as the harm caused by the loss of the decedent, society

and comfort.” Belkin, 667 F. Supp. 2d at 22 (citing Dammarell v. Islamic Republic of Iran, 281

F. Supp. 2d 105, 196-97 (D.D.C. 2003)). “In determining the appropriate amount of

compensatory damages, the Court may look to prior [FSIA] decisions” for guidance. Heiser I,

466 F. Supp. 2d at 269.

       As a general rule, families of victims who have died are awarded greater damages than

families of victims who survived. Rimkus v. Islamic Republic of Iran, 575 F. Supp. 2d 181, 198

(D.D.C. 2008) (citing Heiser I, 466 F. Supp. 2d at 269). The nature of the relationship between

the claimant and the victim is a key factor in determining the appropriate award. Oveissi II, 425




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F. Supp. 2d at 25-26. Another key factor in calculating damages is the “severity and duration of

the pain suffered by the family member.” Id.

       The Heiser I court developed a framework for the calculation of damage awards in FSIA

cases in which spouses of deceased victims were awarded approximately $8 million, while

parents and children received $5 million and siblings received $2.5 million. 466 F. Supp. 2d at

269. Relatives of surviving servicemen received awards valued at half of the awards to family

members of the deceased: $2.5 million for parents and $1.25 million for siblings. Murphy v.

Islamic Republic of Iran, 740 F. Supp. 2d 51, 79 (D.D.C. 2010). This framework has been

applied in subsequent FSIA cases. See, e.g., Valore, 700 F. Supp. 2d at 85-86; Beer v. Islamic

Republic of Iran, 574 F. Supp. 2d 1, 13 (D.D.C. 2008). This framework provides “useful

guidance for FSIA courts; however, these numbers are not set in stone.” Oveissi II, 768 F. Supp.

2d at 26 (quoting Murphy, 740 F. Supp. 2d at 79) (internal alterations and quotation marks

omitted).

       B.      Award of Damages

       Using the damages framework set forth above as a guideline and recognizing the

downward departure required by Israeli law, this Court awards each Plaintiff damages in the

following amounts: Plaintiffs Shlomo and Galit Leibovitch are entitled to $2.25 million each to

compensate them for their emotional distress resulting from the attack and loss of solatium as

Shira’s parents. Plaintiffs Moshe and Hila Leibovitch are entitled to $1 million each to

compensate them for their emotional distress resulting from the attack and loss of solatium as

Shira’s siblings. In addition, the Court will also award Plaintiffs Miriam Eliad and Shmuel Eliad

$1 million each to compensate them for their emotional distress resulting from the attack and

loss of solatium. The Court finds it appropriate to extend an award to the grandparents due to the



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close relationship they enjoy with Shira and the significant distress each grandparent has

endured. See Oviessi II, 768 F. Supp. 2d at 27 (grandparent qualified for solatium damages due

to parent-child type of relationship with victim). Finally, the Court awards Shlomo and Galit

Leibovitch, as representatives of Noam Leibovitch’s estate, $6 million dollars for severity of

anguish, grief and loss of solatium that resulted from her tragic death. The Court is aware that no

amount of financial compensation can ease the Leibovitch family’s continued suffering. The

Court recognizes the award does not match Plaintiffs’ request, but the Court is constrained by the

downward trend imposed by Israeli case law, as well as its duty to provide an appropriate, fair

damages award free of emotional entanglement.

                                        CONCLUSION

       For the foregoing reasons, the Court will award judgment for Plaintiffs on Count VII.

Because Plaintiffs have established a right to damages and because the evidence in the record

supports the allegations in the complaint, a judgment consistent with these findings will be

entered against Iran and MOIS in the amount of $14.5 million for solatium.




                                             ENTERED:
                                                            Chief Judge Ruben Castillo
                                                            United States District Court




Dated: March 31, 2014




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